                              IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                 Plaintiff,

         vs.                                               Case No. 25-CR-1075-GBW

JOSE FLORES-PENALOZA,

                 Defendant.



RESPONSE TO GOVERNMENT’S MOTION FOR DETERMINATION OF ELEMENTS
                          OF CRIMES

         Mr. Flores-Penaloza, by and through his attorneys of record, Assistant Federal Public

Defenders Victoria Trull and Amanda Skinner, hereby responds to the Government’s Motion for

Determination of Elements of Crimes(“motion”). (Doc. 22). This Court should deny the

Government’s motion for the reasons set forth below.

    I.         BACKGROUND

         The Government filed a complaint against Mr. Flores-Penaloza on May 2, 2025. (Doc 1).

The complaint alleged that he entered the United States on April 29, 2025, through Hidalgo County

in the state of New Mexico without lawful permission in violation of 8 U.S.C. §1325(a)(1). (Id.).

The complaint also alleges that he violated 50 U.S.C. §797 and 18 U.S.C. §1382 (“the military

trespass charges”) by entering through a designated military property called generally, the New

Mexico National Defense Area, which parallels the international border in New Mexico. (Id.) This

Court made a preliminary finding of probable cause, and the case was set for preliminary hearing.

(Id.; Doc. 3).


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          On the date of the preliminary hearing, the Government foreclosed the parties’ opportunity

to test the sufficiency of this Court’s preliminary finding of probable cause by filing an

Information, accusing Mr. Flores-Penaloza of the same charges and cutting off any pre-trial

judicial review of the validity of the charges. Mr. Flores-Penaloza elected to proceed to a bench

trial, which is scheduled for June 17, 2025. (Doc. 16). Numerous pretrial motions are pending and

scheduled to be heard the same day. (Docs. 10, 12, 14, 15).

          Yesterday, The United States Attorney for the District of New Mexico filed the instant

motion. (Doc. 22) The Government objects to what it thinks this Court will decide in terms of the

elements the Government must prove beyond a reasonable doubt to secure convictions on the

military trespass charges. (Id. at 1, 4). The Government alleges it would stipulate to certain facts

and told this Court it “should dismiss the military trespass charges in the Information so that the

Government may pursue an appeal of its decision.” (Doc. 22 at 1). The citation that follows does

not stand for the proposition that a judge should dismiss an Information, with no input from the

defendant, on a theory the Government objects to because the Government wants to appeal. 1 (See

Id.).

    II.      LAW AND ARGUMENT

          Local Rule of Criminal Procedure 47.1 requires the moving party to “determine whether a

motion is opposed. Movant must recite in the motion whether concurrence was refused or explain

why concurrence could not be obtained.” D.N.M.LR-Cr. 47.1. While the Government’s motion is

titled as a request for “determination of elements”, the body of the filing also includes a request

for this Court to dismiss the Information, based on the Government’s purported stipulations, so the

Government can appeal. (Id. at 1, 4).


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  Undersigned counsel are aware of numerous avenues available to the Government to properly seek appellate
review of appealable rulings pretrial. None of those avenues are available here.

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         The Government did not seek the position of undersigned counsel or her cocounsel before

filing the motion. 2 While on its own, a failure to comply with this rule may not seem significant,

it is significant in this case because the Government’s motion requests dismissal of the charges on

a theory Mr. Flores-Penaloza does not agree with and asks the Court to dismiss the charges based

on the Government’s purported stipulations so the Government can appeal. (Doc. 22 at 1, 3, 4, and

11).

         Stipulations require the parties to agree to certain facts or terms. Black’s Law Dictionary

defines a stipulation as

         1. A material condition or requirement in an agreement[…] 2. A voluntary
            agreement between opposing parties concerning some relevant point; esp., an
            agreement relating to a proceeding, made by attorneys representing adverse
            parties to the proceeding <the plaintiff and defendant entered into a stipulation
            on the issue of liability>. A stipulation relating to a pending judicial
            proceeding, made by a party to the proceeding or the party's attorney, is
            binding without consideration.

Black's Law Dictionary (12th ed. 2024), stipulation (emphasis added).

         Mr. Flores-Penaloza was never asked to stipulate to the terms the Government proposes in

the motion and his attorneys were never contacted for their position on the requests in the motion.

This Court and the Government believe the illegal entry charge informs the analysis of the military

trespassing charges. (Doc. 22 at 9). Mr. Flores-Penaloza respectfully disagrees. Therefore, Mr.

Flores-Penaloza opposes the Government’s motion and is unable to agree to any stipulations that

could harm his chances on appeal in the event of a conviction on the military trespassing charges.

In addition, Mr. Flores-Penaloza has filed a motion to dismiss the illegal entry charge for improper




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  Parties, including undersigned counsel, often forget this rule applies even to a motion you presume the other party
will oppose, like a defense motion to dismiss or a motion to reconsider a bond decision where the parties have
discussed the matter together at some point during the case. See (Docs. 10, 12, and 14 (undersigned counsel’s filings
in this case moving to dismiss the charges and moving the Court to reopen the bond proceedings that did not state
the Government’s position)).

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venue. (Doc. 10). Any stipulations in this case are against Mr. Flores-Penaloza’s interest because

he believes he has defenses to all three charges.

       Local Rule of Criminal Procedure 47.7 requires that a motion include citation authority in

support of legal positions advanced. D.N.M.LR-Cr. 47.7. The Government’s motion complains

about various legal rulings in other defendants’ cases and then urges this Court to dismiss the

Information the Government elected to file on a theory the Government emphatically opposes so

the Government can appeal. (See Doc. 22 at 1, 4, 5, 9, 10, 11). While the motion contains legal

arguments on the mens rea required to prove the military trespassing charges, these legal

arguments do nothing to support the Government’s request that this Court dismiss the Information

on a theory the Government clearly disagrees with, without the input of Mr. Flores-Penaloza.

       Undersigned counsel understands the local rules as binding on all attorneys practicing in

the United States District Court for the District of New Mexico. See D.N.M.LR-Cr. 1.2 (Effective

Date. These Rules take effect on December 1, 2009. [Amended Effective October 19, 2023]);

D.N.M.LR-Cr. 1.3 (“Application of Rules. These Rules apply in all criminal proceedings in the

District of New Mexico.”). While some leeway for failure to follow multiple rules is sometimes

given to pro se litigants, the Government is not a pro se litigant. See Garrett v. Selby Connor

Maddux & Janer, 425 F.3d 836, 840 (10th Cir. 2005) (quoting Hall v. Bellmon, 935 F.2d 1106,

1110 (10th Cir. 1991)(alterations omitted) (explaining courts make some allowance for a pro se

litigant’s “failure to cite proper legal authority, his confusion of various legal theories, his poor

syntax and sentence construction, or his unfamiliarity with pleading requirements.”).

       The Government’s failure to follow these rules should result in a denial of the requests in

the motion under these circumstances. See D.N.M.LR-Cr. 47.1, 47.7 (using “must” to describe the

parties’ obligations under the rules). Should the Court address the substantive requests in the



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Government’s motion on the date of trial, Mr. Flores-Penaloza is prepared to argue the merits in

more detail at that time.

   III.      CONCLUSION

          For the above-mentioned reasons, and others Counsel is prepared to argue prior to trial if

needed, Mr. Flores-Penaloza respectfully requests this Court deny the Government’s motion. Mr.

Flores-Penaloza remains in custody and ready for trial.

                                                      Respectfully submitted,

                                                      FEDERAL PUBLIC DEFENDER
                                                      506 S Main Street, Suite 400
                                                      Las Cruces, NM 88001
                                                      (575) 527-6930

                                                      Electronically filed June 12, 2025
                                                      By: /s/ Victoria Trull
                                                      Victoria Trull
                                                      Assistant Federal Public Defender

                                                      By: /s/ Amanda Skinner
                                                      Amanda Skinner
                                                      Assistant Federal Public Defender




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